IN THE UNITED STATES DISTRICT COURT
Case 3:19-cr-OOFGKTRENORTHERN ISIRPE ROR REGEKKO! 1 PagelD 65

 

 

DALLAS DIVISION

UNITED STATES OF AMERICA § .
§ Us. DISTRICT COURT

VS. § CASENE Ri SDI)
5 FILE

SANJAY NANDA §

AUS - 6 2019

 

NOTICE REGARDING ENTRY OF A

PLEA OF GUILTY CLERK, U.S, h Jt COURT
By 6

 

 

 

 

 

In the event the Defendant decides at any time before trial to enter-apleaof oui PHY United States
Magistrate Judge is authorized, in accordance with United States v. Dees, 125 F.3d 261 (5™ Cir. 1997), with
the consent of the Defendant, to conduct the proceedings required by Rule 11, F.R.Cr.P. incident to the
making of the plea. If, after conducting such proceedings, the Magistrate Judge recommends that the plea of
guilty be accepted, a presentence investigation and report will be ordered pursuant to Rule 32, F.R.Cr.P. The
assigned United States District Judge will then act on the Magistrate Judge’s Report and Recommendation
and if the plea of guilty is accepted, will adjudicate guilt and schedule a sentencing hearing at which the
District Judge will decide whether to accept or reject any associated plea agreement and will determine and
impose sentence. The Defendant may file written objections to the Magistrate Judge's recommendation within
fourteen (14) days from the date of the recommendation pursuant to 28 U.S.C. §636(b)(1)(B).

CONSENT

I hereby declare my intention to enter a plea of guilty in the above case and I request and
consent to the United States Magistrate Judge conducting the proceedings required by Rule 11,
F.R.Cr.P. incident to the making of such plea. I understand that if my plea of guilty is then accepted
by the District Judge, the District Judge will decide whether to accept or reject any plea agreement I
may have with the United States and will adjudicate guilt and impose sentence.

I acknowledge receipt of this document, given to me on this date.

Signed August 6, 2019.

Po. x
Seay

Defendant : “Defendant's Attorney”

RVC Farr

 

 
